Case 8:04-cr-00545-JSM-E_J Document 180 Filed 04/18/05 Page 1 of 6 PageID 306
         Case 8:04-cr-00545-JSM-E_J Document 180 Filed 04/18/05 Page 2 of 6 PageID 307
A 0 245B (Rev 12/03) Sheet 2 - Iniprisonment
Defendant:          ADELhIO ESCOBAR HURTADO                                                         Judgment - Page 2 of 6
Case No.:           8:04-cr-545-T-30EAJ




        After considering the advisory sentencing guidelines a n d all of the factors identified in Title 18 U.S.C.
$5 3553(a)(l)-(7), thc court finds thilt the sentence ilnposed is sufficient, lmt not greater t l ~ ncccssary,
                                                                                                    n          to co~nplywith
the statutory purposes of sentencing.


        The dcfcndant is hcrehy comn~ittedto the custody of the United States 1)ureau ot' l'risons to be
imprisoned for a total term of FIETY-SEVEN (57) MONTHS as to Counts One and Two of the Indictment: a l l such terms
to run concurrently.



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman,
if possible. If Coleman is not available, the Court recornmends that the defendant be placed at FCI Three Rivers (Texas).



-
X The defendant is renlanded to the custody of the United States Marshal.
-The defendant shall sur~erldcrto the United States Marshal for this district.
          -at -a.ni.lp.m.    on -.
          -as notified hy the United Slates h f a r h l .

- The defendant shall surrender for service of sentence :it the institution designated by the Bureau of IJrisons.

          - hel'ore 2 p.m. 011 -.
          - as notilied by the llnitcd States iU:~rshal.
          - as notilied by the I'rohation or Pretrial Services Office.




          I have executed this judgment as follows:




          Defendant delivered on                                                   to                                        at

                                                                          , with n certified copy of this judgl~~cnt.




                                                                         By:

                                                                         Deputy 3larshal
         Case 8:04-cr-00545-JSM-E_J Document 180 Filed 04/18/05 Page 3 of 6 PageID 308
A 0 215B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:         ADELMO ESCOBAR HURTADO                                                                         Judgment - Page 3of 6
Case No.:          8:04-cr-5?5-T-30EAJ
                                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FrVE (5) YEARS as to
Counts O n e and Two of the Indictment; all such terms to run concurrently.

        The defendcant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendnnr shall not commit another federal. state, or local crime.
The defendant shall not ille,oally possess a controlled subst'mce. The defendant shall refrain from 'my unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

          if this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance with
          the Schedule of Payments sheet of rhis judgment.

          The defendant shall comply with the standard conditions that have been adoptcd by this court as well as with any additional
          conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not Icmc the judicial district nithour the permission ol'the court or probation oflicer:

          the defendant shall report to thc probation officer and shall submit a truthful and cornplclc \\.ritten report within the first five days of each
          month:

          thc defendant shall anslver truthl'ully all inquiries by the probation ofticcr and follo\v the instructions ol'the probation officer:

          the dcfcndant shall support his or her dependents and meet other family responsibilities:

          the defendant shall work regularly at a lawful occupation. unless e\;cusrd by the probation officcr for schooling. traininp. or other
          acceptable reasons:

          the defendam shall notifi the probation otliccr at least t ~ days
                                                                       n prior to any change in residence or employinent;

          the defenclan~shall rrkain from excessive use of alcohol and shall not purchase. possess. use. distribu~e.or administer any controlled
          substance or any paraphernalia related to any controlled s u b s ~ c e s except
                                                                                   .      as prescribed by a physician:

          ths defendant shall not frequent places ~vherecontrolled substances are illegally bold. used, distributed. or administcrcd:

          the defendant shall not asociate with an\!persons engaged in crirninal acti~it? and shall not associate with an) person convicted of a
          fclony. unless granted permission to do so by the probation oflicer:

          the defendatit shall permit a probation offlcer to visit him or her at any rime at home or elscnhcrc and shall permit confiscation of any
          contraband observed in plain view of thc probation officer:

          the defendant shall noti@ the probation officer within sc\wity-two hours of being arrested or questioned by s l a w enforcement officcr:

          tht defendan1 shall not entcr into any agreement to act as an informer or a special agent ol'a law enforcemen1 agency n ithout the
          pernmission of the court:

          as directed by the probation officcr. the defendant shall notify third parties ofrisks that m q be occasioned by the defendant's criminal record
          or pcrson:d histo? or characteristics and shall permit the probation officer io mahe such notificntions and ro conlirm the defendant's
          compliance u ith such notification requirement.
       Case 8:04-cr-00545-JSM-E_J Document 180 Filed 04/18/05 Page 4 of 6 PageID 309
A 0 215B (Rev. 12/03) Sheet 3C - Supen'rxJ Relcase

Defendant:           ADELM0 ESCOBAII HURTADO                                                  Judgment - P a ~ 3
                                                                                                               e of (,
Case No.:            8:0j-cr-545-T-3OEAJ
                                            SPECIAL CONDITIOKS OF SWERVISION

          The defendant shall also comply with thc following additional conditions of supcrviscd relcasc:


-
X         If the defendant be deported, helshe shall not be allowed to re-enter the United States without rhe express permission of the
          appropriate governmental authority.

-
X         The mandatory drug testins provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
          determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not 10 exceed 104 tests
          per year.
        Case 8:04-cr-00545-JSM-E_J Document 180 Filed 04/18/05 Page 5 of 6 PageID 310
 A 0 23513 (Rev 12/03) Sheet 5 - Criminal hlonetay Penalties

 Defendant:             ADELhlO ESCOBAR HURTADO                                                     Judgmenl - Page 5 of 6
 Case No.:              8:04-cr-545-T-30F,AJ

                                                  CRIhlIXAL hf OhTTARY PENALTIES

            The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessnlent                           -
                                                                       Fine                         Total Restitution

            'Totals:             $200.00                               \.\'aived                    N/A


 -         The determination of restitution is deferred until -.                   An hzerzded Jridgnzent in n Crinlitznl Cnse ( A 0 2432) will
           be entered after such determination.
 -         The defendant must make restitution (including community restitution) to the followin_g payees in rhe amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
                                                               a
           specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U.S.C. tj
           3664(i), all nonfederal victims must be pai before the United States.
                                                                                                                    Priority Order or
                                                        *Total                        Amount of                     Percentage of
 Name of Pavee                                        Amount of Loss               Restitution Ordered              Pavnient




                                 Totals:              -
                                                      S                            -
                                                                                   S


 -         Restitution amount ordered pursuant ro plea agreement S
 -         The defendant shall pay interest on any fine or restitution of nlore than $2,500, unless thc restitution or fine is paid in full
           before the fifteenth day afrer h e date of rhe judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 -         The court determined that the defendant does not have the ability to pay intcrcst and it is ordered that:
          -            the interest requirement is waived for the - tine           - restitution.
          -            the interest requiremenr for the - fine - restitution is modified as follows:


* Findings for the toral amount of losses are required under Chapters 109A, 110, 110A, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1991. but before April 23, 1996.
      Case 8:04-cr-00545-JSM-E_J Document 180 Filed 04/18/05 Page 6 of 6 PageID 311
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:         ADELMO ESCOBAR HURTADO                                                      Judgment - Page 6of 6
Case No.:          894-cr-54j-T-30EAJ


                                                   SCHEDULE OF PAYhIEN'I'S



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       X         Lump sum payment of $ 200.00 due irnmediarely, balance due
                             -nor later than                     , or

                             -in accordance - C.             - D, - E or - F below; or
B.       -         Payment to begin immediately (may be combined with -C. -D. or                               F below): or
C.       -         Payment in equal                 (e.g.. weekly. monthly. quarterly) installn~entsof $            over a
                   period of          (e.g., months or years), ro comnlence            days (e-g.. 30 or 60 days) afier the
                   date of this judgment; or
D.       -         Payment in equal               (e.g., weekly, monthly, quarterly) installments of S                over a
                   period of
                                    .
                                 (e.g., months or years) to commence                     (e.g . 30 or 60 days) after release
                   from imprisonment to a term of supervision: or
E.       -         Payment during the term of supervised release will commence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set thc payment plan based on an assessment of
                   the defendant's ability to pay at that time. or
F.                 Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of in1 risonment. payment of criminal
monetar penalties is due dunng irn risonment. All criminal monetary penalties. except i o s e a rnents made through the
         b                               E
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the clerk o t le court.         !y
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Nanies and Case Nunlbers (including defendant number), Total Atnount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
         The defendant shall forfeit the defendant's interest in the following property ro the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                                                                                                       YdY
or portions thereof. subject to forfeiture, \vhich are in the possession or control of t l e efendant or the defendant's
nominees.



Payments shall be applied in the following order: ( 1 ) assessment. ( 2 ) restirurion principal, (3) rrstiturion intercst, (4) fine principal,
(5) community restitution, (6) fine interest (7) pcnnlties. and (8) cosrs, including cost of prosecution and court costs.
